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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                     Case No. 4:18-cr-40028

AARON LLOYD MITCHELL                                                              DEFENDANT

                                             ORDER

       Before the Court is Defendant Aaron Lloyd Mitchell’s Motion for Release Pending

Sentencing. (ECF No. 50). The government has filed a response. (ECF No. 51). The Court finds

that the matter is ripe for consideration.

                                        I. BACKGROUND

       On November 21, 2018, a criminal complaint was filed in the United States District Court

for the Western District of Arkansas, Texarkana Division, alleging that Defendant had committed

two violations of Title 18 U.S.C. § 2251(a). On November 27, 2018, Defendant made his initial

appearance and was appointed a Federal Public Defender. On November 30, 2018, a detention

hearing was held in which Magistrate Judge Barry A. Bryant remanded Defendant to the custody

of the United States Marshal Service pending indictment.

       On December 13, 2018, a Grand Jury returned a three count Indictment against Defendant.

On December 19, 2018, Defendant appeared for arraignment. Defense counsel moved for a

psychiatric examination of Defendant, and the Court found Defendant competent to proceed.

       On June 20, 2019, Defendant pleaded guilty to one count of production of child

pornography in violation of 18 U.S.C. § 2251(a) and is awaiting sentencing. Defendant is currently

being housed at the Miller County Detention Center (MCDC).
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         In the instant motion, filed on July 9, 2020, Defendant seeks a compassionate release and

renews his request that the BOP file a compassionate release motion on his behalf. (ECF No. 342).

                                               II. DISCUSSION

         Defendant moves for release pending sentencing pursuant to 18 U.S.C. § 3145(c). As

previously stated, Defendant pleaded guilty to production of child pornography under 18 U.S.C. §

2251(a), which is classified as a “crime[] of violence” for the purposes of determining detention

and release orders. See 18 U.S.C. §3156(a)(4)(C) and 18 U.S.C. § 3142(f)(1)(A). Thus, this is a

presumed detention case pursuant to 18 U.S.C. § 3143(a)(2). However, if there are exceptional

reasons that constitute a defendant’s detention to be inappropriate, the Court may release a

defendant under these circumstances pending sentencing. 18 U.S.C. § 3145(c). Additionally, under

§ 3143, Defendant must also demonstrate by clear and convincing evidence that he is not a danger

to the community and not a flight risk.

         In the present motion, Defendant asserts that COVID-19 has entered the Miller County

Detention Center, and he is particularly vulnerable to COVID-19 due to several health conditions1.

However, the Court does not find this argument to be persuasive as Defendant fails to demonstrate

how his medical conditions are unable to be treated while incarcerated at the MCDC so as to not

exacerbate his risk of health complications due to COVID-19.

         Additionally, even if the Court found Defendant’s medical conditions to be an exceptional

reason to consider Defendant’s detention inappropriate, Defendant failed to demonstrate by clear

and convincing evidence that he is not a danger to the community and not a flight risk. While

Defendant states that he can reside with his father in Ashdown, Arkansas prior to sentencing,

Defendant still has not met his burden. Defendant’s conduct while incarcerated at the MCDC in


1
 Defendant lists high blood pressure, obesity, and asthma as his current health conditions that could elevate his risk
of health complications due to COVID-19. (ECF No. 50).

                                                          2
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addition to the nature of his charge lead the Court to believe he is a danger to the community.

While in custody, deputies with the Miller County Sheriff’s Office received information that

Defendant intended to harm the guards. Relying on that information, Miller County Sheriff’s

Office Deputy Cpl. Webb searched Defendant’s cell and discovered several contraband items

including a pair of reading glasses, in which the stem extending over the ear had been sharpened

into a shank, a flashlight, and a razor. Further, Judge Barry A. Bryant found Defendant to be a

danger to the community citing his substance abuse issues, suicidal ideation, and the fact that the

victim involved was a five (5) year old child.2 The Court does not find any reason to depart from

these findings.

           Accordingly, Defendant has failed to show an exceptional reason to constitute his detention

as inappropriate and has failed to show by clear and convincing evidence that he is not a danger to

the community nor a flight risk.

                                              III. CONCLUSION

           For the above-discussed reasons, the Court finds that Defendant’s motion (ECF No. 50)

should be and hereby is DENIED, and Defendant shall remain in the custody of the Miller County

Detention Center.

           IT IS SO ORDERED, this 11th day of January, 2021.

                                                                       /s/ Susan O. Hickey
                                                                       Susan O. Hickey
                                                                       Chief United States District Judge




2
    Above mentioned findings were stated in the Order of Detention signed by Judge Barry A. Bryant. (ECF No. 12).

                                                          3
